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                                  In the
               United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                               No. 23-10887
                         ____________________

      ROBERT KLECKLEY,
                                                   Petitioner-Appellant,
      versus
      STATE OF FLORIDA,


                                                  Respondent-Appellee.


                         ____________________

                Appeal from the United States District Court
                    for the Southern District of Florida
                   D.C. Docket No. 0:19-cv-62972-RKA
                         ____________________
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      Before JORDAN and NEWSOM, Circuit Judges.
      BY THE COURT:
              Robert Kleckley is a Florida prisoner serving a life sentence
      for attempted first-degree murder inflicting great bodily harm with
      a firearm (Count 1) and a concurrent 30-year sentence for shooting
      into an occupied vehicle (Count 2). The sentence for Count 2 was
      enhanced based on Kleckley’s habitual felony offender status. His
      sentences were originally imposed in 2000, and in 2010, he was re-
      sentenced to the same sentence on Count 2. On November 27,
      2019, he filed a pro se 28 U.S.C. § 2254 petition, raising 11 claims.
      Grounds 1-3 and 11 concerned his resentencing, and Grounds 4-10
      concerned his original trial proceedings.
              In a report and recommendation (“R&R”), a magistrate
      judge found that Grounds 4-10 were untimely and recommended
      denying Grounds 1-3 and 11 on the merits. The district court
      adopted the R&R, and Kleckley filed a Fed. R. Civ. P. 59(e) motion,
      contending that he never received the R&R. The district court
      granted the motion in part, and Kleckley filed objections, which the
      district court overruled, denying Grounds 1-3 and 11. Then, in a
      second Rule 59(e) motion, Kleckley argued that his resentencing
      resulted in a new judgment that restarted the limitations period for
      all of his claims.
             The district court denied this motion, reasoning that the re-
      sentencing did not result in a new judgment, and even if it did, it
      only affected Count 2 and did not impact his underlying convic-
      tions, which precluded him advancing untimely challenges to any
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      alleged errors that occurred at his trial. Nonetheless, the district
      court granted Kleckley a certificate of appealability (“COA”) on
      two issues:
             1. If a state resentencing court reimposes on a state
             prisoner the same sentence the prisoner had already
             been serving, without re-adjudicating him guilty on
             any count, do the resentencing documents constitute
             a “new judgment” under Magwood v. Patterson, 561
             U.S. 320 (2010), Patterson v. Secretary, Florida Depart-
             ment of Corrections, 849 F.3d 1321 (11th Cir. 2017), and
             their progeny?
             2. If a state resentencing court issues a new judgment
             as to only one of several counts—leaving the convic-
             tion and sentence for the remaining counts undis-
             turbed—does this new judgment allow a habeas peti-
             tioner to file an otherwise untimely § 2254 petition,
             challenging his underlying conviction as to all the
             counts?
      The district court did not state, however, whether Kleckley had
      made a substantial showing of the denial of a constitutional right.
      Kleckley appealed and now seeks to expand the COA.
             Here, the district court’s order granted a COA on a proce-
      dural issue, without specifying the underlying constitutional issue
      or issues. See 28 U.S.C. § 2253(c)(2), (3); Spencer v. United States, 773
      F.3d 1132, 1138 (11th Cir. 2014) (en banc). Accordingly, the district
      court’s grant of a COA is VACATED, and this case is hereby
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      REMANDED for the limited purpose of the district court reissuing
      its COA in compliance with Spencer and § 2253(c)(2). Additionally,
      Kleckley’s motion to expand the COA is DENIED because he has
      failed to make a substantial showing of the denial of a constitu-
      tional right regarding Grounds 1-3 and 11. See 28 U.S.C.
      § 2253(c)(2).
